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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF TEXAS
MARSHALL DIVISION

SYMBOLOGY INNOVATIONS, LLC

Plaintiff, Civil Action No. 2:23-cv-419-IRG-RSP

Vv.

VALVE CORPORATION,
GEARBOX SOFTWARE, LLC
Defendant.

DECLARATION OF CHRISTOPHER SCHENCK IN SUPPORT
OF VALVE CORPORATION’S MOTION TO DISMISS UNDER
FEDERAL RULE OF CIVIL PROCEDURE 12(b)(3) FOR IMPROPER VENUE

1. My name is Christopher Schenck. I am over the age of twenty-one years, of sound
mind, and competent in all respects to make this declaration.

2. I make this declaration based on my own knowledge and investigation within
Valve Corporation (“Valve”) as to the matters reflected within this declaration. I could and
would competently testify to the accuracy of this declaration if called upon to testify regarding
its contents.

3. I am in-house counsel at Valve. I have been employed by the company since
2018.

4, Valve is incorporated in the state of Washington and has its headquarters at 10400
Northeast Fourth St. Fl. 14, Bellevue, WA 98004.

5. Valve does not have a physical presence in the Eastern District of Texas.
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6. Valve does not own any real property, rent any office space, or possess or control
any “shelf space” (i.e., it does not rent out a table in a retail store to sell its products) in the

Eastern District of Texas.

7. Valve has no record of an employee named Helen Pope ever working for Valve.

8. Valve has no record of an employee named Mitchell Ludolf ever working for
Valve.

9. Brandon Reinhart is a former Valve employee and independent contractor for

Valve; his contract with Valve has ended.

10. Jenni Jacobi is a current independent contractor Valve hired through a third-party.
She focuses on video and event production work, such as contract management and project
coordination.

11. Helen Pope, Mitchell Ludolf, Brandon Reinhart, and Jenni Jacobi are not current
employees of Valve.

12. Valve has not focused on the development of augmented reality since 2013.

13. Although Valve uses third-party companies to provide customer support, none of
the facilities that Valve uses for customer support are located in Texas.

14. Valve is not related to Gearbox Software LLC (“Gearbox”). Valve does not have
any control or authority over Gearbox.

15. Gearbox developed an expansion of Valve’s game Half-Life entitled Half-Life:
Opposing Force, which released in November 1999.

16. | Gearbox developed another expansion of Valve’s game Half-Life entitled Half-

Life: Blue Shift, which released in June 2001.
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17. Later in 2001, Valve entered into a contractual agreement with Gearbox to do
additional video game development work and create video game content.

18. In 2002, Valve terminated that contract with Gearbox.

19. Since 2002, Valve has not collaborated with Gearbox to develop any products.

20. Valve and Gearbox did not work together to develop the Steam mobile app.

21. | Valve and Gearbox are separate entities that do not share any common ownership,
employees, or office space.

22. Gearbox is one of thousands of game developers that sell their products on
Valve’s Steam platform.

Under 28 U.S.C. § 1746, I declare under penalty of perjury under the laws of the United

States of America that the foregoing is true and correct.

Executed in Bellevue, WA on November 3, 2023 } .

Z

( _Christopher Schenck
